Case 1-19-41428-ess   Doc 1   Filed 03/12/19   Entered 03/12/19 11:56:50
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               Bank Of America
               4 90 9 Savarese Circle
               Fll-908-01-50
               Tampa, FL 33634


               Citibank/The Home Depot
               Attn: Recovery/Centralized Bankruptcy
               Po Box 7 90034
               St Louis, MO 63179


               Credit One Bank
               Attn: Bankruptcy Department
               Po Box 98873
               Las Vegas, NV 89193


               ERC/Enhanced Recovery Corp
               Attn: Bankruptcy
               8014 Bayberry Road
               Jacksonville, FL 32256


               Exeter Finance Corp
               PoBox166008
               Irving, TX 75016


               Exeter Finance Corp
               Po Box 166008
               Irving, TX 75016


               First Premier Bank
               Attn: Bankruptcy
               Po Box 5524
               Sioux Falls, SD 57117


              First Premier Bank
              Attn: Bankruptcy
              Po Box 5524
              Sioux Falls, SD 57117


              Flagship Credit
              Po Box 965
              Chadds Ford, PA 19317


              Flagship Credit
              Po Box 965
              Chadds Ford, PA 19317
Case 1-19-41428-ess   Doc 1   Filed 03/12/19   Entered 03/12/19 11:56:50




                 Nationstar Mortgage, LLC
                 8 950 Cypress Waters Blvd
                 Coppell, TX 75019


                 People's Alliance FCU
                 Attn: Bankruptcy
                 135 Wireless Blvd
                 Hauppauge, NY 11788


                 Simon's Agency, Inc.
                 Attn: Bankruptcy
                 Po Box 502 6
                 Syracuse, NY 13220


                 Target
                 Attn: Bankruptcy
                 Po Box 94 7 5
                 Minneapolis, MN 55440
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